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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ALJALON HAYES,                                        )
                                                      )
                               Plaintiff,             )
         vs.                                          )       Case No. 19-cv-6558
                                                      )
CENTRAL TRANSPORT INTERNATIONAL,                      )
INC., dba CENTRAL TRANSPORT; CENTRAL                  )
TRANSPORT, LLC; and SPENCER LITTEN,                   )
                                                      )
                               Defendants.            )

                                   NOTICE OF REMOVAL

        Defendants, SPENCER LITTEN and CENTRAL TRANSPORT, LLC (improperly named

as   CENTRAL       TRANSPORT         INTERNATIONAL,         dba,   CENTRAL       TRANSPORT)

(“Defendants”), through their attorneys, WILSON ELSER MOSKOWITZ EDELMAN &

DICKER, LLP, remove this action from the Circuit Court of Cook County, Illinois, pursuant to 28

U.S.C. §§ 1332, 1441, and 1446. As grounds, Defendants state:

                                  PROCEDURAL HISTORY

        1.     This is a personal injury action involving a September 19, 2017 collision between

vehicles operated by Plaintiff, Aljalon Hayes and Defendant Spencer Litten.

        2.     On April 29, 2019, Plaintiff filed a three-count complaint in the Circuit Court of

Cook County, Illinois, Law Division, Case No. 2019 L 004591. (Exhibit A, Complaint).

        3.     On May 2, 2019, summons were issued for Defendant Spencer Litten (Exhibit B,

Spencer Litten service).

        4.     On May 25, 2019 Defense Counsel filed their appearance on behalf of Spencer

Litten. (Exhibit C, Appearance by Counsel on behalf of Spencer Litten).




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        5.     On August 8, 2019 Defense Counsel filed Spencer Litten’s answer to Plaintiff’s

Complaint at Law. (Exhibit D, Spencer Litten’s Answer to Plaintiff’s Complaint at Law.)

        6.     On August 1, 2019 Central Transport LLC was served via special process server.

(Exhibit E, Proof of Service on Central Transport LLC)

        7.     On August 13, 2019 Defense Counsel filed their appearance and answer on behalf

of Central Transport, LLC (Exhibit F, Appearance by Counsel on behalf of Central Transport,

LLC).

        8.     On September 5, 2019 Defense Counsel filed Central Transport, LLC’s answer to

Plaintiff’s Complaint at Law. (Exhibit G, Central Transport, LLC’s Answer to Plaintiff’s

Complaint at Law).

        9.     On September 6, 2019 Plaintiff filed his responses to Defendants’ Request for

Admission. (Exhibit H, Plaintiff’s Response to Defendants First Request for Admission).

                                 GROUNDS FOR REMOVAL

        10.    A defendant may remove any civil action brought in a state court for which the

district courts of the United States have original jurisdiction to the federal district court

encompassing the place in which the action is pending. 28 U.S.C. § 1441(a).

        11.    This Court has original jurisdiction over this action by reason of complete diversity

of citizenship and an amount in controversy which exceeds the sum or value of $75,000, exclusive

of interests and costs. 28 U.S.C. § 1332(a).

                     THE PARTIES ARE OF DIVERSE CITIZENSHIP

        12.    On April 29, 2019 Plaintiff Aljalon Hayes was a citizen of the State of Illinois.

(Exhibit H, Plaintiff’s Response to Defendants First Request for Admission to Plaintiff; RTA #2).

        13.    On April 29, 2019 Defendant Spencer Litten was a citizen of the State of Michigan.

(Exhibit I, Spencer Litten Affidavit of Citizenship).

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          14.    At the time this action was commenced on April 29, 2019 and since that time,

Defendant Central Transport, LLC has been an Indiana Corporation with its principal place of

business in Warren Michigan. None of its members are citizens of Illinois. (Exhibit J, Central

Transport, LLC Affidavit of Citizenship.)

          15.    As such, complete diversity of citizenship exists pursuant to 28 U.S.C. § 1332. See

Wis. Dept or Correction v. Schacht, 524 U.S. 381, 388, 118 S. Ct. 2047, 2052 (1998); Caterpillar

Inc. v. Lewis, 519 U.S. 61, 65, 117 S. Ct. 467, 471 (1996).

                        AMOUNT IN CONTROVERSY IS SATISFIED

          16.    Plaintiff has admitted that the amount in controversy in this matter exceeds

$75,000. (Exhibit H, Plaintiff’s Response to Defendants First Request for Admission to Plaintiff;

RTA #1).

          THE STATUTORY REQUIREMENTS OF 28 U.S.C. § 1446 ARE SATISFIED

          17.    Defendants filed this Notice of Removal within thirty (30) days of receipt of

Plaintiff’s admitting that the amount in controversy in this matter exceeds $75,000, and therefore,

this Notice of Removal is timely. 28 U.S.C. § 1446(b)(3).

          18.    This Court has diversity jurisdiction over this mater pursuant to 28 U.S.C. § 1332

(a)(1).

          19.    The State Court Action is properly subject to removal pursuant to 28 U.S.C. § 1332

(a)(1).

          20.    Defendants are filing, within this pleading, a copy of the Complaint and Summons

served upon them in the state court action. 28 U.S.C. § 1446(a).

          21.    Promptly after filing this Notice of Removal, Defendants will provide written

notice to all adverse parties of the filing, and a true and correct copy of this Notice of Removal



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will be filed with the Clerk of the Circuit Court of Cook County, Illinois, as required by 28 U.S.C.

§ 1446(d).

        22.    Defendants all consent to removal.

        23.    By filing this Notice of Removal, Defendants do not waive any available defenses,

including all jurisdictional and affirmative defenses.

        24.    The undersigned counsel for the Defendants has read the foregoing and signed this

Notice of Removal pursuant to Rule 11 of the Federal Rules of Civil Procedure, as required by 28

U.S.C. § 1446(a).

        WHEREFORE, Defendants SPENCER LITTEN and CENTRAL TRANSPORT, LLC

(improperly named as CENTRAL TRANSPORT INTERNATIONAL, dba, CENTRAL

TRANSPORT) hereby remove the instant action from the Circuit Court of Cook County, Illinois,

to the United States District Court for the Northern District of Illinois, Eastern Division, and

respectfully request that this Court exercise jurisdiction over this action.

                                       Respectfully Submitted,

                                       WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP


                                       By: /s/ Justin Dobek
                                           One of the attorneys for Defendants
                                           CENTRAL TRANSPORT, LLC and
                                           SPENCER LITTEN

Kathleen McDonough (ARDC # 6229813)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been forwarded
to Plaintiff’s counsel via e-mail and Certified mail on this 2nd day of October, 2019.

                                       Andrew S. Kryder
                                  The Kryder Law Group, LLC
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                                       info@kryderlaw.com



                                                     /s/ Justin Dobek




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